Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 1 of 20




 EXHIBIT 1
Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 2 of 20
                                         1
           Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 3 of 20




                             COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX, ss                                                   SUPERIOR COURT DEPT OF THE
                                                                TRIAL COURT NO.

______________________________
                              )
REMI MARENCO,                 )
                              )
      Plaintiff               )                                   9/24/2021     HG
                              )
v.                            )
                              )
THE BROAD INSTITUTE, INC., )
                              )
      Respondent              )
______________________________)

                         COMPLAINT AND DEMAND FOR JURY TRIAL

                                    Parties, Jurisdiction and Venue


1.        Plaintiff Rémi Marenco (“Mr. Marenco”) is a French citizen with a permanent address of

          11 Apex Drive, Suite 300A #134, Marlborough, MA 01752 and maintained a residence in

          Massachusetts at all times relevant to this matter.

2.        Defendant The Broad Institute, Inc. operates an institute named the Broad Institute of

          MIT and Harvard (hereinafter “the Institute”) which is “a research organization that

          convenes a community of researchers from across many disciplines and partner

          institutions—MIT, Harvard, and Harvard-affiliated hospitals” for the purpose of

          “ensur[ing] that the benefits of genomic medicine are shared by all.” 1

3.        Massachusetts has jurisdiction over the parties pursuant to M.G.L. c. 223A § 2.

4.        This Court has jurisdiction over this matter pursuant to M.G.L. c. 212 § 4.

5.         Venue is appropriate because both parties have addresses in Middlesex County.


1
    https://www.broadinstitute.org/about-us.
       Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 4 of 20




                                             Facts

6.    Mr. Marenco was employed by the Institute as a software engineer from November 2016

      until January 18, 2021.

7.    In order to employ Mr. Marenco, in or about 2017 the Institute filed a successful

      application for an H-1B visa on his behalf.

8.    Mr. Marenco performed well in his position and received largely positive performance

      evaluations.

9.    In 2020, the Institute again filed a successful application for an H-1B visa on Mr.

      Marenco’s behalf.

10.   On or about January 28, 2020 Mr. Marenco received a letter from an attorney retained by

      the Institute for his H-1B visa application indicating that the application had been

      approved and that “[his] H-1B status would be valid from February 1, 2020 until January

      31, 2023.”

11.   At this time Mr. Marenco’s father Serge Marenco, who resided in France during the

      period Mr. Marenco worked for the Institute, suffered from a form of metastatic cancer.

12.   In early 2020, Mr. Marenco indicated to his manager at the Institute, Moony Tseng (“Ms.

      Tseng”), that his father’s condition had worsened and he needed to return to France to

      visit him.

13.   Mr. Marenco proposed to Ms. Tseng that he could work part-time remotely from France,

      and she agreed.

14.   The nature of Mr. Marenco’s work lends itself very well to remote work arrangements,

      and he can fully perform his job responsibilities from any location with an internet

      connection.



                                               2
         Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 5 of 20




15.    In recognition of his prior work making improvements to the lab, Ms. Tseng informed

       Mr. Marenco that he would continue to be paid full time while working part-time from

       France.

16.    Two weeks after Mr. Marenco’s arrival in France, or about March 17, 2020, France and

       the United States both implemented lockdown provisions due to the COVID-19

       pandemic.

17.    That same month, President Trump implemented a ban on travel to the United States

       from Schengen Area 2 countries including France.

18.    During the COVID-19 lockdown, Mr. Marenco continued to work part-time for the

       Institute until the end of May 2020.

19.    In June 2020, Serge Marenco’s cancer progressed to a point where he was admitted to

       palliative care.

20.    On or about May 31, 2020, Serge Marenco entered palliative care, and Mr. Marenco took

       unpaid leave to care for him pursuant to the federal Family and Medical Leave Act

       (FMLA).

21.    On or about June 18, 2020 Mr. Marenco submitted an application for paid family medical

       leave pursuant to the Institute’s policies.

22.    In his application for paid family and medical leave, Mr. Marenco provided the necessary

       information about his father’s medical condition and explained his need to attend to his

       care; provide emotional support; assist with paperwork related to his funeral and estate;

       and handle other family responsibilities.




2
 The Schengen Area consists of the territory of 26 European countries who have joined an agreement
concerning immigration, travel and border control matters.
                                                     3
       Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 6 of 20




23.   Mr. Marenco requested leave from June 18, 2020 through the date of his father’s

      expected passing (up through September 18, 2020).

24.   The Institute granted his request for paid leave.

25.   On or about June 22, 2020, President Trump issued a proclamation limiting the entry of

      H-1B visa holders to the United States through the end of the year.

26.   In August 2020 Serge Marenco’s health appeared to improve, and Mr. Marenco made

      arrangements to travel to Croatia, which is outside the Schengen area, so that he could

      then fly from Croatia to the United States.

27.   At the time Mr. Marenco made his travel plans to Croatia and the United States, he

      believed that he was eligible for an exception to the H-1B visa entry ban for people

      employed in the medical field.

28.   On or about August 16, 2020, Mr. Marenco traveled from Paris, France to Split, Croatia.

29.   Mr. Marenco purchased a flight for September 2, 2020 from Zagreb, Croatia to New

      York.

30.   However, Serge Marenco’s health worsened again, and Mr. Marenco decided to return to

      France.

31.   On August 26, 2020, while Mr. Marenco was on the plan returning from Croatia to

      France, Serge Marenco passed away.

32.   On or about September 3, 2020, just hours after burying his father, Mr. Marenco received

      an email from the Institute’s Human Resources department indicating that his leave was

      ending.

33.   The Institute wrote that “[w]hile we made an exception for you to originally travel to

      France, the Broad is not set up to employ or pay individuals outside of the U.S. and we



                                                4
       Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 7 of 20




      will need you to be in the U.S. within the next 30 days in order to not jeopardize your

      Broad employment and your H1b [sic] visa status.”

34.   In the wake of his father’s death, Mr. Marenco suffered significant mental health

      problems including major depressive disorder.

35.   Mr. Marenco used accrued vacation time for the period of September 28, 2020 through

      October 19, 2020.

36.   Throughout September and October 2020, Mr. Marenco corresponded with the Institute

      about finding a reasonable accommodation for his mental health condition and his

      inability to return to the United States.

37.   The Institute continued to insist that it could not employ Mr. Marenco remotely while he

      was located in France, even though it had done just that for several months earlier in the

      year.

38.   On or about October 19, 2020, Mr. Marenco provided the Institute with a letter from his

      therapist reflecting her assessment that his mental health condition was temporarily

      precluding him from performing his job responsibilities.

39.   Mr. Marenco’s therapist also indicated that she was concerned about his symptoms being

      exacerbated if he were to return to Massachusetts, where he would be relatively isolated

      without the support of his family and friends in France.

40.   Based on his therapist’s opinion, Mr. Marenco requested an accommodation of a two

      months’ unpaid leave of absence with a return-to-work date of December 18, 2020.

41.   As Mr. Marenco indicated to the Institute through his therapist, his primary care

      physician was in the process of reassessing his anti-depressant medications in an effort to

      improve his condition.



                                                  5
       Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 8 of 20




42.   The Institute initially asked Mr. Marenco to simply work for two weeks while it

      evaluated my leave request, despite his doctors’ recommendation that he take leave.

43.   On or about October 26, 2020, the Institute provisionally approved Mr. Marenco’s

      request for unpaid leave pending further review by Cigna, its insurer.

44.   Cigna subsequently approved Short-Term Disability benefits for the requested time

      period.

45.   On or about November 26, 2020, Mr. Marenco corresponded with the Institute’s Human

      Resources department concerning his planned return to the United States and asked about

      the current state of immigration restrictions applicable to H-1B visa holders, since he

      remained unclear about how I could return to the United States.

46.   It was not until December 16, 2020 that the Institute acknowledged that the visa stamp

      copy on file for Mr. Marenco had expired and indicated that if he had obtained a new one

      the H-1B travel ban would not apply to him, but that otherwise, he would not be able to

      obtain a new H-1B visa until after January 1, 2021 unless he made an emergency

      appointment with the U.S. Embassy and successfully applied for a “National Interest”

      exemption.

47.   Mr. Marenco then made many attempts to contact the U.S. Embassy to determine his visa

      status, but the conditions imposed by the COVID-19 pandemic made it very difficult to

      get any response.

48.   Mr. Marenco’s efforts to clarify his immigration status were frustrated and complicated

      by the Institute’s refusal to allow him access his work email while he was on leave.

49.   On or about December 14, 2020 Mr. Marenco expressed to the Institute his concern that

      he would not be able to return to the U.S. by the date they expected him, given the



                                               6
       Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 9 of 20




      complications related to his visa and the need to travel to a non-Schengen Area country

      and then quarantine for two weeks prior to re-entering the U.S.

50.   On or about December 21, 2020, Mr. Marenco expected to resume working for the

      Institute, as his approved leave had expired.

51.   However, Mr. Marenco’s access to work email and the Institute’s systems remained cut

      off.

52.   When Mr. Marenco wrote to the Institute concerning his inability to access the resources

      he needed to perform his job responsibilities, the Institute responded that “[t]here are

      certain tax implications if you received pay from the Broad Institute that was not Short

      Term Disability pay or your accrued Paid Time Off while you were overseas which is

      why we had to place you on an Unpaid Leave.”

53.   This was the first time Mr. Marenco had been informed of any purported tax implications

      related to his remote work, despite having worked remotely from France earlier in the

      year.

54.   On or about December 21, 2020, Mr. Marenco wrote to the Institute to express his

      frustration with its poor communication concerning his immigration status; its

      unwillingness to allow him access to his work email, which would have facilitated his

      attempts to resolve the visa situation; and its general insensitivity to his situation.

55.   Mr. Marenco indicated to the Institute that unless the communication related to his

      leave/return to work status improved, he would be contacting an employment lawyer.

56.   Further communication was unproductive, as the Institute attempted to blame Mr.

      Marenco for not being able to resolve his immigration status issue even though it had




                                                 7
      Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 10 of 20




      applied for the H-1B visa on his behalf and the U.S. Embassy was directing him to have

      his employer arrange to resolve the visa issue.

57.   On or about December 23, 2020 Mr. Marenco received an email from Chris Chernicki

      (“Mr. Chernicki”), the Institute’s Associate Director of Human Resources, indicating that

      the Institute had received his fitness for duty certification and that he had been “reinstated

      from FMLA effective December 20, 2020.”

58.   In the same email, Mr. Chernicki reiterated the Institute’s refusal to allow Mr. Marenco

      to work remotely from France and that “[a]s a courtesy, we will continue your unpaid

      leave until January 18, 2021, to give you time to secure the necessary documentation and

      authorization to return to work in the U.S.”

59.   Mr. Marenco was not in a position to review Mr. Chernicki’s email until after the

      holidays, and the Institute was closed for the holidays between December 24, 2020 and

      January 4, 2021.

60.   On January 1, 2021 the Massachusetts Paid Family and Medical Leave system

      established in accordance to M.G.L. c. 175M § et seq. went into effect, entitling Mr.

      Marenco to paid medical leave rights.

61.   On or about January 12, 2021 Corrina Hale, Senior Counsel at the Institute, sent Mr.

      Marenco an email in which she communicated the institute’s decision not to extend his

      leave beyond January 18, 2021 and made clear that if he did not return to work in the

      United States by that date, he would be terminated.

62.   Mr. Marenco attempted to obtain a visa stamp in time, but it was a practical impossibility

      to do so especially given the lack of assistance from the Institute.




                                                8
      Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 11 of 20




63.   Because he was unable to return to the United States by January 18, 2021, and the

      Institute refused to allow him to work remotely from France even on a temporary basis,

      the decision not to extend his leave terminated Mr. Marenco’s employment.

64.   The timing and circumstances of the Institute’s decision reflect an intention to interfere

      with Mr. Marenco’s right to take paid leave pursuant to M.G.L. c. 175M and/or the

      FMLA, which would have afforded him additional time in which to make arrangements

      to return to the United States.

                                            COUNT I
                                Violations of M.G.L. c. 175M § 9

65.   Mr. Marenco realleges and incorporates the foregoing paragraphs of the Complaint as if

      fully set forth herein.

66.   By terminating Mr. Marenco’s employment just after the Massachusetts paid family and

      medical leave system went into effect, the Institute interfered with his right to exercise

      leave pursuant to the statute, M.G.L. c. 175M § 1 et seq.

67.   Additionally and alternatively, the Institute terminated Mr. Marenco’s employment for

      the purpose of interfering with his right to exercise leave pursuant to the statute.

68.   Pursuant to M.G.L. c. 175M § 9, Mr. Marenco is entitled to relief including but not

      limited to reinstatement to his position with the Institute or to an equivalent position;

      compensation in an amount equal to three times his lost wages, benefits and other

      remuneration and the interest thereon; and an award of his reasonable costs and

      attorneys’ fees incurred.




                                                9
      Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 12 of 20




                                           COUNT II
                                Violations of 29 U.S.C. § 2615(a)

69.   Mr. Marenco realleges and incorporates the foregoing paragraphs of the Complaint as if

      fully set forth herein.

70.   Through its conduct described in the foregoing paragraphs, the Institute interfered with

      Mr. Marenco’s right to take leave pursuant to the FMLA in violation of 29 U.S.C. §

      2615(a)(1).

71.   But for the exercise of his right to take FMLA leave, Mr. Marenco would not have been

      terminated.

72.   The Institute’s termination of Mr. Marenco’s employment was motivated by his

      invocation of his right to take leave pursuant to the FMLA and constituted retaliation in

      violation of 29 U.S.C. § 2615(a)(2).

73.   Pursuant to 29 U.S.C. § 2617, the Institute is liable to Mr. Marenco for the full amount of

      his compensatory damages proven at trial, plus liquidated damages in an equal amount,

      as well as Mr. Marenco’s attorneys’ fees and costs incurred.

                                      COUNT III
             Breach of the Implied Covenant of Good Faith and Fair Dealing

74.   Mr. Marenco realleges and incorporates the foregoing paragraphs of the Complaint as if

      fully set forth herein.

75.   By failing to cooperate with and assist Mr. Marenco in navigating his immigration status,

      including but not limited to assisting him in obtaining the visa stamp that would enable

      him to return to the United States, the Institute breached the covenant of good faith and

      fair dealing implied in his contract with the Institute.




                                                10
      Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 13 of 20




76.   By abruptly reversing course and deciding that Mr. Marenco would not be allowed to

      work remotely from France, even for a limited time period pending the resolution of the

      issues relating to his return to the United States, the Institute breached its covenant of

      good faith and fair dealing with Mr. Marenco.

77.   The Institute is liable to Mr. Marenco for his damages incurred as a result of its breach of

      the implied covenant of good faith and fair dealing, including but not limited to his lost

      income as a result of his employment termination.

                                         COUNT IV
                                      Breach of Contract

78.   Mr. Marenco realleges and incorporates the foregoing paragraphs of the Complaint as if

      fully set forth herein.

79.   Through its actions described herein, the Institute agreed that Mr. Marenco could work

      remotely from France.

80.   By abruptly reversing course and deciding that Mr. Marenco would not be allowed to

      work remotely from France, even for a limited time period pending the resolution of the

      issues relating to his return to the United States, the Institute breached its agreement with

      Mr. Marenco.

81.   The Institute is liable to Mr. Marenco for his damages incurred as a result of its breach of

      the agreement with him, including but not limited to his lost income as a result of his

      employment termination.

82.   Alternatively, the Institute should be held liable under the doctrine of promissory

      estoppel for Mr. Marenco’s damages incurred as a result of his reasonable reliance on the

      Institute’s assurances that if he traveled to France to see his dying father he would be

      allowed to work remotely and the travel would not result in the loss of his position.

                                                11
        Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 14 of 20




       WHEREFORE, the Plaintiff respectfully requests that the Court provide him with the

following relief:

       A) Award him the total amount of his compensatory damages;

       B) Award him the total amount of his unpaid wages, trebled;

       C) Award him the total amount of his damages incurred as a result of his employment

           termination, trebled;

       D) Award him the total amount of his reasonable attorneys’ fees and costs incurred in

           bringing this action; and

       E) Award him such other and further relief as the Court deems appropriate.

   THE PLAINTIFF DEMANDS A JURY TRIAL AS TO ALL ISSUES SO TRIABLE.

                                                   Respectfully,

                                                   Plaintiff Rémi Marenco
                                                   By his attorney,



                                                   /s/ Benjamin C. Rudolf
                                                   Benjamin C. Rudolf, BBO#667695
                                                   Murphy & Rudolf, LLP
                                                   One Mercantile Street, Suite 740
                                                   Worcester, MA 01608
                                                   p. (508) 425-6330
                                                   f. (508) 536-0834
                                                   brudolf@murphyrudolf.com

Dated: September 24, 2021




                                              12
                                                  2
                   Case 1:21-cv-11859-DJC  Document   1-1 Filed 11/16/21 Page 15 of 20
                                        DOCKET NUMBER         Trial Court of Massachusetts
        CIVIL ACTION COVER SHEET                              The Superior Court
                                                                                                           COUNTY MIDDLESEX
Plaintiff: Remi     Marenco                                                                 Defendant:    The Broad Institute, Inc.
ADDRESS:       11 Apex Drive, Suite 300A #134, Marlborough, MA 01752                        ADDRESS:   415 Main Street, Cambridge, MA 02142




Plaintiff Attorney:     Benjamin C. Rudolf                                                  Defendant Attorney:

ADDRESS:   Murphy & Rudolf, LLP                                                             ADDRESS:

 1 Mercantile Street, Suite 740, Worcester MA 01608


BBO:   667695                                                                               BBO:

                                            TYPE OF ACTION AND TRACK DESIGNATION (see instructions section below)
             CODE NO.                          TYPE OF ACTION (specify)                                  TRACK               HAS A JURY CLAIM BEEN MADE?
              A04                               Breach of Contract                                         F                       YES             NO
*If "Other" please describe:
                                Is there a claim under G.L. c. 93A?                                            Is there a class action under Mass. R. Civ. P. 23?
                                        YES          NO                                                                YES           NO
                                                       STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, § 3A

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff's counsel relies to determine money damages.
For this form, disregard double or treble damage claims; indicate single damages only.
                                                                            TORT CLAIMS
A. Documented medical expenses to date
              1. Total hospital expenses
              2. Total doctor expenses                                                9/24/2021            HG
              3. Total chiropractic expenses
              4. Total physical therapy expenses
              5. Total other expenses (describe below)


                                                                                                             Subtotal (1-5):                            $0.00
B. Documented lost wages and compensation to date
C. Documented property damages to date
D. Reasonably anticipated future medical and hospital expenses
E. Reasonably anticipated lost wages
F. Other documented items of damages (describe below)


                                                                                                             TOTAL (A-F):                                 $0.00
G. Briefly describe plaintiff's injury, including the nature and extent of injury:


                                                                               CONTRACT CLAIMS
            This action includes a claim involving collection of a debt incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).

    Item #                                                     Detailed Description of Each Claim                                                               Amount
       1.           Breach of Contract; Breach of Implied Covenant of Good Faith and Fair Dealing; Violations of 29 U.S.C. $100,000+
                    § 2615(a) and M.G.L. c. 175M § 9
                                                                                                                      Total $100,000+


Signature of Attorney/Unrepresented Plaintiff: X /s/ Benjamin C. Rudolf                                                                      Date: September 24, 2021
RELATED ACTIONS: Please provide the case number, case name, and county of any related actions pending in the Superior Court.


                                                             CERTIFICATION PURSUANT TO SJC RULE 1:18
  I hereby certify that I have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC Rule 1:18) requiring that I provide my
  clients with information about court-connected dispute resolution services and discuss with them the advantages and disadvantages of the various methods of dispute resolution.

Signature of Attorney/Unrepresented Plaintiff: X /s/ Benjamin C. Rudolf                                                                      Date: September 24, 2021


  SC0001: 1/22/2021                                                    www.mass.gov/courts                                                 Date/Time Printed:07-02-2021 12:08:52
                    Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 16 of 20




SC0001: 1/22/2021                        www.mass.gov/courts                Date/Time Printed:07-02-2021 12:08:52
Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 17 of 20
Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 18 of 20
Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 19 of 20
                        Case 1:21-cv-11859-DJC Document 1-1 Filed 11/16/21 Page 20 of 20
            TRIAL COURT OF
                                                 NOTICE OF APPEARANCE
            MASSACHUSETTS
COURT DEPARTMENT                          DIVISION OR COUNTY

              SUPERIOR                                         MIDDLESEX                           COURT USE ONLY
CASE NAME                                                                                          DOCKET NUMBER

  [In Matter of]


  REMI MARENCO
              [v.]


   THE BROAD INSTITUTE, INC.

  TO THE CLERK- MAGISTRATE / RECORDER / REGISTER:

  Please enter my appearance in the above-named matter

         for myself.

         as attorney for REMI MARENCO
                                                                                                                                           .
                                                                           (Name(s))




NAME (FIRST, MIDDLE, LAST)                                                                   B.B.O. NUMBER (IF APPLICABLE)

                                                                                             667695
Benjamin C. Rudolf
FIRM OR AGENCY NAME (IF APPLICABLE)                                                          OFFICE OR HOME PHONE NUMBER
                                                                                             (508) 425-6330
Murphy & Rudolf, LLP                                                                         MOBILE PHONE NUMBER
STREET ADDRESS                                                                  APT/UNIT #

                                                                                             FAX NUMBER
1 Mercantile Street, Suite 740
CITY/TOWN                                            STATE      ZIP CODE        E-MAIL ADDRESS


Worcester                                            MA         01608           brudolf@murphyrudolf.com
DATED                                                SIGNATURE


09/24/2021                                           X /s/ Benjamin C. Rudolf
[Notice of Appearance (TC001: 09/2017)]                 www.mass.gov/courts/forms                                            Page 1 of 1
